       Case
     Fill in this15-21705-CMB              Doc
                 information to identify the     90
                                             case:             Filed 07/08/20 Entered 07/08/20 07:49:02                        Desc Main
                                                               Document Page 1 of 5
     Debtor 1              DAVID R. WALKER


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          15-21705CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 FIRST NATIONAL BANK OF PA(*)                                                      2

 Last 4 digits of any number you use to identify the debtor's account                         0   1   1   4

 Property Address:                             10711 BABCOCK BLVD
                                               GIBSONIA PA 15044




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $      11,727.15

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $      11,727.15

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $      11,727.15


 Part 3:             Postpetition Mortgage Payment


 Check one

 ý Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $      $1,536.64
         The next postpetition payment is due on                 7 / 1 / 2020
                                                                MM / DD / YYYY

 ¨ Mortgage is paid directly by the debtor(s).


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Debtor 1     DAVID R. WALKER                                                  Case number   (if known)   15-21705CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date   07/07/2020


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     DAVID R. WALKER                                             Case number   (if known)   15-21705CMB
             Name




                                              Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
04/22/2016   0988583    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             154.67
05/24/2016   0992522    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             518.28
06/27/2016   1001270    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             517.17
07/26/2016   1005235    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             516.00
08/26/2016   1009220    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             514.77
09/27/2016   1013247    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,656.67
10/26/2016   1017133    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             639.66
12/21/2016   1023763    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,251.53
01/27/2017   1027201    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,618.26
02/24/2017   1030652    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             637.74
03/28/2017   1034065    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             633.72
04/21/2017   1037413    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             624.46
05/25/2017   1040674    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,091.89
06/27/2017   1044031    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             606.88
07/25/2017   1047360    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             589.14
08/25/2017   1050699    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                             156.31
                                                                                                                      11,727.15

MORTGAGE REGULAR PAYMENT (Part 3)
10/26/2015   0964121    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           4,773.61
11/24/2015   0968278    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           4,890.40
12/22/2015   0972333    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,956.15
01/26/2016   0976333    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,956.16
02/24/2016   0980306    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,956.15
03/28/2016   0984327    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           2,907.21
04/22/2016   0988583    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
05/24/2016   0992522    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
06/27/2016   1001270    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
07/26/2016   1005235    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
08/26/2016   1009220    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
09/27/2016   1013247    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
10/26/2016   1017133    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
11/21/2016   1020507    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
12/21/2016   1023763    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
01/27/2017   1027201    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
02/24/2017   1030652    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
03/28/2017   1034065    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
04/21/2017   1037413    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
05/25/2017   1040674    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
06/27/2017   1044031    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
07/25/2017   1047360    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
08/25/2017   1050699    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
09/26/2017   1054008    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
10/25/2017   1057379    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
11/21/2017   1060671    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
12/21/2017   1063935    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
01/25/2018   1067346    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
02/23/2018   1070568    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
03/28/2018   1073742    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
04/24/2018   1076981    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
05/25/2018   1080226    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
06/22/2018   1083418    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
07/26/2018   1086567    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
08/28/2018   1089802    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
09/25/2018   1092980    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
10/29/2018   1096188    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
11/27/2018   1099390    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
12/21/2018   1102508    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
01/25/2019   1105662    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
02/25/2019   1108937    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
03/25/2019   1112193    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
04/26/2019   1115473    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
05/24/2019   1118886    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64

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             Name




                                              Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
06/25/2019   1122258    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
07/29/2019   1125689    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
08/27/2019   1129192    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
09/24/2019   1132545    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
10/24/2019   1135808    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
11/25/2019   1139258    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
12/23/2019   1142688    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
01/28/2020   1146110    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
02/25/2020   1149601    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
03/23/2020   1153140    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,536.64
04/27/2020   1156581    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                           1,534.03
06/26/2020   1163381    FIRST NATIONAL BANK OF PA(*)           AMOUNTS DISBURSED TO CREDITOR                               2.61
                                                                                                                      93,735.04




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                                           CERTIFICATE OF SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

DAVID R. WALKER
PO BOX 196
GIBSONIA, PA 15044-0196

KENNETH STEIDL ESQ
STEIDL & STEINBERG
707 GRANT ST STE 2830
PITTSBURGH, PA 15219

FIRST NATIONAL BANK OF PA(*)
LOAN ADJUSTMENT DEPT*
4140 E STATE ST
HERMITAGE, PA 16148




7/7/20                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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